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 2011R000415
 LS/ms




                                              UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA                     Honorable Katharine S. Hayden

                Plaintiff,                     Criminai.No. 11-165 ·
          v.
                                               CONSENT JUDGMENT AND
  PASQUALE ZINNA                               ORDER OF FORFEITURE

                Defendant.


         WHEREAS, .on .or about December·20, 2011, ·defen~ant Pasqual~ Zinna pled

 guilty pursuant to a plea agreement with the United States to an Indictment charging

 him with Social Security fraud in violation of 42 U.S.C. § 408, and structuring financial

 transactions in violation of 31 U.S.C. § 5324(a)(3}: and

         WHEREAS •. pur:suant to 31 U.S.C. § 5317, a person convicted of an offense in

 violation of 31 U.S.C. § 5324 shall forfeit to the United States any property, real or

 personal, involved in the offense and any property thereto; and

         WHEREAS the sum of $98,000 is subject to forfeiture by defendant Pasquale

 Zinna ~s property •. ~eal or .personal, that was·lnvolved in the offense to which defendant
                             .                 .

 Pasquale Zlnna has pled guilty; and

         WHEREAS the defendant Pasquale Zinna, pursuant to his plea agreement with

 the United States has agreed to hand-deliver to the Asset Forfeiture and Money

 Laundering Unit of the Uni.~ed States A~omey's Office, District of New Jersey, a certified
  .                                                    .
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  bank check payable to the United States Treasury in the amount of $98,000, prior to his

  sentencing date; and

          WHEREAS if by any ~ct or omission of the defendant, any property subject to

: forfeitu~e: · .·

                     (A)         cannot be located upon the exercise of due diligence:

                     (B)         has been transferred or sold to, or deposited with, a third party;


                     (C)     ·has been placed beyond the jurisdiction of the court;
                                                   .   .
                     (D)     .has been substantially dimlnis~ed in value: or

                     (E)         has b'een commingled with other.property which cannot be
                                 divided without difficulty,

  it is the intent of the United States to seek forfeiture of any other property of the

 defendant up to the value of the property subject to forfeiture pursuant to 21 U.S.C. §
          .·.   .            .         ~   . . .              .   .

 853(p);as incorporated.by 28 U.S.C. § 2461(c); and

          WHEREAS defendant Pasquale Zinna:

                     (1)         Consents to the forfeiture to the Unit~d States of $98,000 as

 property, re.al or personal, involved in the offense to which he pled guilty;
                                       ·.                         . .         .

                     (2) ·   Agrees to consent prom.ptly upon request to the entry of any orders

 deemed necessary by the government or the Court to complete the forfeiture and

 disposition of property;

                     (3)     Waives the requirements of Federal Rules of Criminal Procedure

 32.~ and .43(a) regarding notice of .forfeiture in the ¢ha~glng instrument, announcement




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 forfeiture in the Judgment of Conviction;

                 (4)     Acknowledges that he understands that forfeiture of property will be

 part of the sentence imposed upon him in this case and waives any failure by the Court

·to ·advise· h.im ·of this,· -purs.~anf to .Federal Rule ofC.rimtnai.Procedure ·11 (b)( 1")(J), during

 the plea hearing;

                 (5)     Agrees, pursuant to Rule 32.2(b)(3), to consent promptly to the

 finalization of the order of forfeiture before sentencing if requested by the government

·to·do so··
        ..·•

                 (6)     Waives, and agrees to hold the United States and its agents and

 employees harmless from, any and all claims whatsoever in connection with the

 seizure, forfeiture, and disposal of the property described above; and

               :. (7)   .. Wal~~-~ .all. ponstitu~ionaLand statutory challenges of any kind to

 any forfeiture carried out pursuant to this Consent Judgment;

         WHEREAS Rule 32.2(c)(1) provides that no ancillary proceeding is required to

 the extent that the forfeiture consists of a money judgment; and

         WHEREAS good and sufficient cause has be·en shown,




         It is hereby ORDERED, ADJUDGE.D, AND DECREED:

         THAT, puf$uantto.31
                .
                             .u.s.q.
                               '
                                     § 5317,.defenda.nt
                                             .
                                                        Pasquale
                                                          . .
                                                                 Zinna
                                                                    .
                                                                       shall forfeit to
                                                                                    '
                             .     .     .
 the United States· the sum of $98,000; and



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           IT IS FURTHER ORDERED that a money judgment in the arnount of $98,000

. shall . be·entered again.st
                         . . .
                              defendant Pasq4al.e·..Zi.nna:
                                                        . and

           IT IS FURTHER ORDERED that the United States District Court shall retain

 jurisdiction to enforce this Order, and to amend it as necessary, pursuant to Fed. R.

 Crim. P. 32.2(e); and

           IT IS· FURTHER· ORDERED t~at pursuant_ to Rule 32.2(b )(4 )(A), this Order of
             .                                                            .   ..
       .                                                   .

 Forfeiture shall become final as to defendant Pasquale Zinna at the time of sentencing,

 or before sentencing if the defendant consents, and shall be made part of the sentence

 and included in the judgment; and

           'T IS FURTHER ORDERE~ that ~he United
                                               .
                                                 States may move at any time
                                                        .       .          .

 pursuant to Rule 32.2(e) and 21 U.S.C. § 853(p) to amend this Order of Forfeiture to

 include substitute property having a value not to exceed $98,000 in United States

 currency to satisfy the forfeiture money judgment in whole or in part.

           ORDERED    thl~ay of                         , 2012.    .




                                                    Honorable Katharine ~. Hayden
                                                    United States District Judge


 The undersigned hereby
 consent to the entry and
 form of this order:

 PAUL J. FISHMAN
 United States Attomey




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                                        · Daled:     ..5j~,..:s   j; ·z--

                                            Dated:
  MAURICE H. s·~R .R ·· ESQ.
  Attorney. for Defend~n Pasquale Zinna ·




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